 Fill in this information to identify your case:

 Debtor 1                  Evander Frank Kane
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number           21-50028
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                  4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
        Not married
2.     During the last 3 years, have you lived anywhere other than where you live now?

        No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                                Dates Debtor 2
                                                                lived there                                                                        lived there
        334 Santana Row                                         From-To:                     Same as Debtor 1                                      Same as Debtor 1
        San Jose, CA 95128                                      2/2018 - 3/2020                                                                    From-To:



        52 Ojibwa Circle                                        From-To:                     Same as Debtor 1                                      Same as Debtor 1
        Buffalo, NY 14202                                       8/2017 - 2/2018                                                                    From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

        No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
              Case: 21-50028                 Doc# 29             Filed: 02/17/21            Entered: 02/17/21 23:41:39                     Page 1 of 10
 Debtor 1      Evander Frank Kane                                                                          Case number (if known)   21-50028


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For last calendar year:                            Wages, commissions,                    $7,000,000.00           Wages, commissions,
 (January 1 to December 31, 2020 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                    $7,000,000.00           Wages, commissions,
 (January 1 to December 31, 2019 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

 For the calendar year:                             Wages, commissions,                    $6,000,000.00           Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       No
           Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 For last calendar year:                           State Tax Return -                          $100,000.00
 (January 1 to December 31, 2020 )                 expected return

                                                   Federal Tax Return -                     $1,200,000.00
                                                   expected return

                                                   Podcast show                                 $25,000.00


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                      No.         Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case: 21-50028                    Doc# 29             Filed: 02/17/21            Entered: 02/17/21 23:41:39                     Page 2 of 10
 Debtor 1      Evander Frank Kane                                                                          Case number (if known)   21-50028



       Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No.         Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Pacific Private Money                                    Oct.1 Nov.1 DEC.1             $53,971.89         $2,232,000.0        Mortgage
       1555 Grant Ave                                           2020                                                        0        Car
       Novato, CA 94945
                                                                                                                                     Credit Card
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other

       American Express - Wells Fargo                           OCT 12, 15,19,22,            $110,000.00             $9,200.00       Mortgage
       8012 Wiles Rd.                                           Nov                                                                  Car
       Coral Springs, FL 33067                                  2,8,10,22,23,24,25,                                                  Credit Card
                                                                27, Dec
                                                                2,6,8,11,16,19
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other

       American Express                                         Oct 22 Nov 2,20               $54,000.00           $79,393.00        Mortgage
       8012 Wiles Road                                          Dec 11,12,16                                                         Car
       Coral Springs, FL 33067                                                                                                       Credit Card
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other

       Paul Cambria                                             Dec 15 2020                   $15,000.00           $70,000.00        Mortgage
       42 Delaware Ave                                                                                                               Car
       Buffalo, NY 14202                                                                                                             Credit Card
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other   Legal Fees

       Davis Sanchez                                            Monthly. Amount                 $5,500.00         $150,000.00        Mortgage
       138 Woodbine Ave.                                        is in estimated                                                      Car
       Toronto, Ontario M412A2                                  USD                                                                  Credit Card
       CANADA
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other

       Royal Bank of Canada                                     Dec. 17, 2020                 $76,591.00                  $0.00      Mortgage
       P.O. Box 4016, Station A                                                                                                      Car
       Toronto, Ontario M5W 2E6                                                                                                      Credit Card
       CANADA
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
           Case: 21-50028                    Doc# 29             Filed: 02/17/21            Entered: 02/17/21 23:41:39                    Page 3 of 10
 Debtor 1      Evander Frank Kane                                                                          Case number (if known)   21-50028


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Tony Veltri                                              Transfer of sports            $74,280.00          $320,000.00        Mortgage
       16487 25th Ave.                                          memorabilia and                                                      Car
       Surrey, British Columbia V3Z 0S2                         other payments                                                       Credit Card
       CANADA
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other

       Scotia Bank                                              12/30/20 and                  $28,922.00         $2,330,000.0        Mortgage
       8377 Granville St.                                       11/26/20                                                    0        Car
       Vancouver, BC V6P4Z8
                                                                                                                                     Credit Card
       CANADA
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other

       Scotia Bank                                              12/30/2020 and                $23,078.00         $1,900,000.0        Mortgage
       8377 Granville St.                                       11/26/20                                                    0        Car
       Vancouver, BC V6P4Z8
                                                                                                                                     Credit Card
       CANADA
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
       Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Zions Bancorporation v. Evander                          Suit for breach of          Santa Clara Superior Court                 Pending
       F. Kane                                                  contract                    191 North First St.                      On appeal
       19CV360613                                                                           San Jose, CA 95113
                                                                                                                                     Concluded



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
           Case: 21-50028                    Doc# 29             Filed: 02/17/21            Entered: 02/17/21 23:41:39                    Page 4 of 10
 Debtor 1      Evander Frank Kane                                                                          Case number (if known)    21-50028


       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Centennial Bank v. Evander Kane                          Breach of                   Santa Clara Superior Court                Pending
       20CV364167                                               contract, common            191 North First St                        On appeal
                                                                counts                      San Jose, CA 95113                          Concluded


       South River Capital v Evander                            Breach of contract          Circuit Court for Baltimore               Pending
       Kane                                                                                 County                                    On appeal
       C-03-CV-20-003992                                                                    401 Bosley Ave                              Concluded
                                                                                            Towson, MD 21285

       Parker v. Kane                                           Contract Claims             Los Angeles Superior Court                  Pending
       18SMCV00095                                                                          1945 S Hill St                            On appeal
                                                                                            Los Angeles, CA 90007
                                                                                                                                      Concluded

       Sure Sports LLC v Kane                                   Breach of contract          American Arbitration                        Pending
       01-19-0004-3991                                                                      Association                               On appeal
                                                                                            333 SE 2nd Ave., Suite 2000
                                                                                                                                      Concluded
                                                                                            Miami, FL 33131

       Newport Sports Management, Inc.                          Agent Fee Dispute           NHL Player's Ass'n                        Pending
       v. Kane                                                                              Arbitration Tribunal                      On appeal
                                                                                                                                        Concluded


       Kuechle v. Kane                                                                      Erie County Supreme Court                   Pending
       807030                                                                               25 Delaware Ave.                          On appeal
                                                                                            Buffalo, NY 14202
                                                                                                                                      Concluded

       Newport Sports Management, Inc.                          Petition to confirm         U.S. District Court                         Pending
       v. Kane                                                  arbitration award           280 South First Street                    On appeal
       20-cv-07815                                                                          San Jose, CA 95113
                                                                                                                                      Concluded

       Centennial Bank v. Evander Kane                          Breach of loan              U.S. Dist. Ct. So. Dist of                  Pending
       et al.                                                                               Florida                                   On appeal
       21-cv-60045                                                                          299 East Broward Blvd.
                                                                                                                                      Concluded
                                                                                            Fort Lauderdale, FL 33301


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
       Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
           Case: 21-50028                    Doc# 29             Filed: 02/17/21            Entered: 02/17/21 23:41:39                     Page 5 of 10
 Debtor 1      Evander Frank Kane                                                                          Case number (if known)    21-50028


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes
 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
       Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                   Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
     No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                        Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       St Christopher Church                                         Cash donations                                                                      $1,500.00
       2278 Booksin Ave
       San Jose, CA 95125

       Project Ghana 2020                                            Funds donated for school renovation in                                              $5,625.00
                                                                     Ghana

       Miscellaneous Homeless persons                                Cash donated to homeless people -                                                   $5,000.00
                                                                     estimated over past year


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

       No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                             lost
                                                            insurance claims on line 33 of Schedule A/B: Property.
       Gambling at casino and via                           none                                                                                    $1,500,000.00
       bookie(sports betting) none


 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
           Case: 21-50028                    Doc# 29             Filed: 02/17/21            Entered: 02/17/21 23:41:39                       Page 6 of 10
 Debtor 1      Evander Frank Kane                                                                          Case number (if known)    21-50028


       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Finestone Hayes LLP                                                                                                    Dec. 18, 2020           $10,000.00
       456 Montgomery St., 20th Floor                                                                                         - $5,000
       San Francisco, CA 94104                                                                                                Jan. 4, 2021 -
       sfinestone@fhlawllp.com                                                                                                $5,000


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Gambling Debt                                                 Rolex watches - Rolex                      Payment on gambling             November 16,
                                                                     Day/Date and Rolex AP                      debt                            2020
                                                                     Watches valued at $75,000
       none


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
       Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case: 21-50028                    Doc# 29             Filed: 02/17/21            Entered: 02/17/21 23:41:39                     Page 7 of 10
 Debtor 1      Evander Frank Kane                                                                               Case number (if known)   21-50028


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
       Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                                 have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
       Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                         have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
       Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
           Case: 21-50028                    Doc# 29             Filed: 02/17/21                Entered: 02/17/21 23:41:39                   Page 8 of 10
 Debtor 1      Evander Frank Kane                                                                          Case number (if known)   21-50028


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
       Yes. Fill in the details.
        Case Title                                                   Court or agency                       Nature of the case                    Status of the
        Case Number                                                  Name                                                                        case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
       No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Lions Properties LLC                                    not operating                                    EIN:         unknown
        8012 Wiles Road
        Coral Springs, FL 33067                                 Tony Chiracosta                                  From-To      2019 to present

        Evander Kane LLC                                        Dissolved                                        EIN:         unknown
        8012 Wiles Road
        Coral Springs, FL 33067                                 Tony Chiracosta                                  From-To      2018-2019

        EK9 Marketing LLC                                       Marketing                                        EIN:         unknown
        8012 Wiles Road
        Coral Springs, FL 33067                                 Tony Chiracosta                                  From-To      June 2020 to present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
       Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Evander Frank Kane
 Evander Frank Kane                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date      February 17, 2021                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 9
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
           Case: 21-50028                     Doc# 29            Filed: 02/17/21            Entered: 02/17/21 23:41:39                    Page 9 of 10
 Debtor 1      Evander Frank Kane                                                                          Case number (if known)   21-50028



 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 10
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
            Case: 21-50028                     Doc# 29               Filed: 02/17/21 Entered: 02/17/21 23:41:39                          Page 10 of
                                                                                   10
